                       IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


 CHRISANNA BROWN, individually &
 on behalf of all others similarly situated,          Case No. 3:24-cv-848

                                   Plaintiff,

  v.                                                        JURY TRIAL DEMANDED

 THE CHARLOTTE-MECKLENBURG
 HOSPITAL AUTHORITY (d/b/a
 ATRIUM HEALTH),

                                   Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Chrisanna Brown, individually and on behalf of all others similarly situated, by

and through undersigned counsel, hereby alleges the following against Defendant The Charlotte-

Mecklenburg Hospital Authority (d/b/a Atrium Health) (“Atrium” or “Defendant”). Facts

pertaining to Plaintiff and her experiences and circumstances are alleged based upon personal

knowledge and all other facts herein are alleged based upon the investigation of counsel and, where

indicated, upon information and good faith belief.

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this class action lawsuit against Atrium for its failure to properly

secure and safeguard Plaintiff’s and other similarly situated current and former Atrium patients’

(collectively defined herein as the “Class” or “Class Members”) personally identifiable

information (“PII”) and protected health information (“PHI”), including names, dates of birth,

Social Security numbers, Driver’s licenses, health and health insurance information, and financial

data (collectively, the “Private Information”) from cybercriminals.

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        2.       Defendant Atrium is a healthcare organization and hospital network offering a wide

range of clinical services to patients across multiple states.1 Defendant operates 40 hospitals, 7

emergency departments, 30 urgent care centers and approximately 1400 additional care locations

throughout North Carolina, South Carolina, Georgia and Alabama.

        3.       As part of its healthcare business, Atrium collects a treasure-trove of data from its

patients, including highly sensitive Private Information.

        4.       Healthcare providers that handle Private Information have an obligation to employ

reasonable and necessary data security practices to protect the sensitive, confidential and personal

information entrusted to them.

        5.       This duty exists because it is foreseeable that the exposure of such Private

Information to unauthorized persons—and especially hackers with nefarious intentions—will

result in harm to the affected individuals, including, but not limited to, medical and financial

identity theft, invasion of their private health matters and other long-term issues.

        6.       The harm resulting from a data and privacy breach manifests in several ways,

including identity theft and financial and medical fraud, and the exposure of a person’s Private

Information through a data breach ensures that such person will be at a substantially increased and

certainly impending risk of identity theft crimes compared to the rest of the population, potentially

for the rest of their lives.

        7.       Mitigating that risk—to the extent it is even possible to do so—requires individuals

to devote significant time, money and other resources to closely monitor their credit, financial




1
              Atrium               Health            2019               Annual               Report,
https://atriumhealth.org/files/build_annual_report/index.html (last visited Sept. 18, 2024).


                                                   2

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accounts, health records and email accounts, as well as to take a number of additional prophylactic

measures.

          8.    In this instance, all of that could have been avoided if Atrium—which serves more

than 34,000 patients a day across the Atrium network—had employed reasonable and

appropriate data security measures.2

          9.    On or around September 13, 2024, Atrium announced that its patients’ Private

Information stored on its systems had been compromised by a phishing attack on several employee

email accounts (the “Data Breach”).3

          10.   Atrium allegedly indicated that the information impacted by the Data Breach

included “an individual’s first and/or last name; middle initial; street address, email address and/or

phone number(s); Social Security number; date of birth; medical record number; certain

government or employer identifiers; driver’s license or state-issued identification number; bank or

financial account numbers or information, including routing numbers, financial institution name,

or expiration date; treatment/diagnosis, provider name, prescription, health insurance or treatment

cost information; patient identification number; health insurance account or policy number(s);

incidental health references; billing identification numbers; access credentials; and/or digital

signatures.”4



2
    See id.
3
  See JDSupra, Atrium Health Confirms Report of Data Breach Stemming from Email Phishing
Attack (Sept. 17, 2024) (last visited Sept. 18, 2024); see also The HIPAA Journal, Email Accounts
Compromised        in     Atrium       Health      Phishing      Attack  (Sept.     16,    2024),
https://www.hipaajournal.com/atrium-health-phishing-attack/ (last visited Sept. 18, 2024).
4
    See Atrium Health, A Notice to our Patients, https://cdn.atriumhealth.org/-
/media/documents/substitute-notices/atrium-health--charlotte-bec--substitute-notice-
final.pdf?rev=c6bed3cc96eb4694b4a578c73fd0fca1&hash=58A4D4F600E2F7C506933E7A53B
A1FD9 (last visited Sept. 18, 2024).
                                                  3

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          11.    This is one of the most egregious data breaches of recent years as it appears that the

Data Breach took place in April 20245 and in the months to come Atrium has gone to extraordinary

lengths to conceal the details of the breach, including the number of affected victims and the exact

categories of stolen data.

          12.    The only publicly available information regarding the Data Breach from Atrium

itself is “A Notice to Our Patients” on Atrium’s website (the “Incident Statement”).6 It appears

that this statement was issued on or around September 13, 2024.

          13.    The exceedingly vague Statement does not provide any details about the Data

Breach, stating only that “[t]he forensic consultant’s analysis of the affected accounts, completed

on July 17, 2024, indicates that the unauthorized party was not focused on email content pertaining

to medical or health information.”7

          14.    Atrium has not reported the Data Breach to the Department of Health and Human

Services Office for Civil Rights (“HHS”), or any of the state agencies as of the filing of this

complaint.

          15.    Thus, despite discovering the Data Breach on or around April 2023, Atrium still

has not disclosed the full scope of the Data Breach or the information impacted, or over four

months after the fact.




5
    See supra, note 3.
6
  See https://cdn.atriumhealth.org/-/media/documents/substitute-notices/atrium-health--charlotte-
bec--substitute-notice-
final.pdf?rev=c6bed3cc96eb4694b4a578c73fd0fca1&hash=58A4D4F600E2F7C506933E7A53B
A1FD9 (last visited Sept. 18, 2024).
7
    See supra, note 4.


                                                   4

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         16.   Defendant’s Incident Statement is inadequate for several reasons. Omitted from

Atrium’s Statement were the number of affected victims, exact patient data accessed by

cybercriminals, the vulnerabilities exploited, and the remedial measures undertaken to ensure such

a breach does not occur again. To date, these critical facts have not been explained or clarified to

Plaintiff and Class Members, who retain a vested interest in ensuring that their Private Information

remains protected.

         17.   This “disclosure” amounts to no real disclosure at all, as it fails to inform, with any

degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without

these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach has been severely diminished.

         18.   As a direct and proximate result of Defendant’s failure to implement and to follow

basic security procedures, Plaintiff’s and Class Members’ PII and PHI is now in the hands of

cybercriminals.

         19.   Plaintiff and Class Members are now at a significantly increased and certainly

impending risk of fraud, identity theft, misappropriation of health insurance benefits, intrusion of

their health privacy and similar forms of criminal mischief, risk which may last for the rest of their

lives.

         20.   Consequently, Plaintiff and Class Members must devote substantially more time,

money and energy to protect themselves, to the extent possible, from these crimes. See McMorris

v. Lopez, 995 F.3d 295, 301 (2d Cir. 2021) (quoting Remijas v. Neiman Marcus Grp., LLC, 794

F.3d 688, 693 (7th Cir. 2015) (“Why else would hackers break into a store’s database and steal

consumers’ private information? Presumably, the purpose of the hack is, sooner or later, to make

fraudulent charges or assume those consumers’ identities.”)).



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          21.   Plaintiff, on behalf of herself and all others similarly situated, therefore brings

claims for (i) Negligence; (ii) Breach of Implied Contract; (iii) Breach of the Implied Covenant of

Good Faith and Fair Dealing; (iv) Unjust Enrichment; (v) Breach of Fiduciary Duty; (vi) Violation

of the North Carolina Unfair Trade Practices Act, N.C. Gen. Stat. Ann. § 75 et seq.; and (vii)

Declaratory Judgment. Plaintiff seeks damages and injunctive relief, including the adoption of

reasonably necessary and appropriate data security practices to safeguard the Private Information

in Defendant’s custody in order to prevent incidents like the Data Breach from occurring in the

future.

                                            PARTIES

          22.   Plaintiff Chrisanna Brown is, and at all times mentioned herein, was an individual

citizen residing in Iredell County, North Carolina and has been a patient of Atrium for several

years.

          23.   Plaintiff understandably and reasonably believed and trusted that her Private

Information provided to Atrium would be kept confidential and secure and would be used solely

for authorized purposes.

          24.   Defendant The Charlotte-Mecklenburg Hospital Authority (d/b/a Atrium Health) is

a healthcare service provider. Defendant is incorporated in North Carolina with its principal place

of business located at 1000 Blythe Boulevard in Charlotte, North Carolina 28203.

                                  JURISDICTION & VENUE

          25.   This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy exceeds the sum of

$5,000,000 exclusive of interest and costs, there are more than 100 putative class members and




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minimal diversity exists because at least one putative class member is a citizen of a different state

than Defendant.

          26.    This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

because all claims alleged herein form part of the same case or controversy.

          27.    This Court has personal jurisdiction over Atrium because it operates and maintains

its principal place of business in this District. Further, Atrium is authorized to and regularly

conduct business in this District and make decisions regarding corporate governance and

management of its business operations in this District, including decisions regarding the security

of patients’ Private Information.

          28.    Venue is proper in this District under 28 U.S.C. § 1391(a)(1) through (d) because:

a substantial part of the events giving rise to this action occurred in this District and Atrium has

harmed Class Members residing in this District.

                             COMMON FACTUAL ALLEGATIONS

A.        Atrium Collects a Significant Amount of Private Information.

          29.    Atrium Health is a healthcare system operating across North Carolina, South

Carolina, Georgia and Alabama.

          30.    The Atrium network has 40 hospitals and more than 1,400 locations across several

states.

          31.    In 2019 Atrium officially combined with Georgia-based Navicent Health.8

          32.    Also in 2019 Atrium announced plans to combine with Wake Forest Baptist Health

and Wake Forest University to create an academic healthcare system, including a School of




8
    See https://atriumhealth.org/files/build_annual_report/index.html?
                                                  7

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Medicine campus in Charlotte, as well as signed a letter of intent to create a strategic combination

with Georgia-based Floyd Health System.9

          33.   As a condition of receiving medical services from Atrium, patients are required to

entrust it with highly sensitive personal and health information.

          34.   While providing healthcare services, Defendant receives, creates and handles an

incredible amount of Private Information, including, inter alia, names, addresses, dates of birth,

addresses, phone numbers, email addresses, Social Security numbers and medical information

such as dates of service, diagnosis/treatment information, medical billing/claims information,

health insurance information and other information that Defendant may deem necessary to provide

services and care.

          35.   Patients are required to provide and to otherwise entrust their PII and PHI to

Defendant to receive healthcare services and, in return, they reasonably and appropriately expect

that Atrium will safeguard their highly sensitive Private Information and keep it secure and

confidential.

          36.   The information held by Defendant in its computer systems included the

unencrypted Private Information of Plaintiff and Class Members.

          37.   Upon information and good faith belief, Defendant made promises and

representations to its patients that the Private Information collected from them as a condition of

obtaining healthcare services at Defendant would be kept safe, confidential, that the privacy of that

information would be maintained, and that Defendant would delete any sensitive information after

it was no longer required to maintain it.




9
    See id.
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       38.     Due to the highly sensitive and personal nature of the information Atrium acquires

and stores with respect to its patients, Atrium is required to keep patients’ Private Information

private; comply with industry standards related to data security and the maintenance of its patients’

Private Information; inform its patients of its legal duties relating to data security and comply with

all federal and state laws protecting patients’ Private Information; only use and release patients’

Private Information for reasons that relate to the services it provides; and provide adequate notice

to patients if their Private Information is disclosed without authorization.

       39.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, Atrium assumed legal and equitable duties it owed to them and

knew or should have known that it was responsible for protecting Plaintiff’s and Class Members’

Private Information from unauthorized disclosure and exfiltration.

       40.     Without the required submission of Private Information from Plaintiff and Class

Members, Defendant could not perform the services it provides.

       41.     Plaintiff and Class Members relied on Atrium to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this Information,

which Defendant ultimately failed to do.

       42.     Atrium’s actions and inactions directly resulted in the Data Breach and the

compromise of Plaintiff’s and Class Members’ Private Information.

B.     Atrium Knew the Risks of Storing Valuable Private Information & the Foreseeable
       Harm to Victims.

       43.     Atrium was well aware that Private Information it collects is highly sensitive and

of significant value to those who would use it for wrongful purposes.

       44.     Atrium also knew that a breach of its systems—and exposure of the information

stored therein—would result in the increased risk of identity theft and fraud (financial and medical)

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against the individuals whose Private Information was compromised, as well as intrusion into their

highly private health information.

       45.     These risks are not merely theoretical; in recent years, numerous high-profile data

breaches have occurred at businesses such as Equifax, Facebook, Yahoo, Marriott, Anthem as well

as countless ones in the healthcare industry.

       46.     PII has considerable value and constitutes an enticing and well-known target to

hackers, who can easily sell stolen data as there has been a “proliferation of open and anonymous

cybercrime forums on the Dark Web that serve as a bustling marketplace for such commerce.”10

       47.     PHI, in addition to being of a highly personal and private nature, can be used for

medical fraud and to submit false medical claims for reimbursement.11

       48.     The prevalence of data breaches and identity theft has increased dramatically in

recent years, accompanied by a parallel and growing economic drain on individuals, businesses

and government entities.

       49.     In 2021 alone, there were 4,145 publicly disclosed data breaches, exposing 22

billion records. The United States specifically saw a 10% increase in the total number of data

breaches.12




10
   Brian Krebs, The Value of a Hacked Company, Krebs on Security (July 14, 2016),
http://krebsonsecurity.com/2016/07/the-value-of-a-hacked-company/ (last visited Sept. 18, 2024).
11
  See Brian O’Connor, Healthcare Data Breach: What to Know About them and What to Do After
One, Experian (June 14, 2018), https://www.experian.com/blogs/ask-experian/healthcare-data-
breach-what-to-know-about-them-and-what-to-do-after-one/ (last visited Sept. 18, 2024).
12
    Data Breach Report: 2021 Year End, Risk Based Security (Feb. 4, 2022),
https://www.riskbasedsecurity.com/2022/02/04/data-breach-report-2021-year-end/ (last visited
Sept. 18, 2024).


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           50.   In tandem with the increase in data breaches, the rate of identity theft complaints

has also increased over the past few years; for instance, in 2017, 2.9 million people reported some

form of identity fraud compared to 5.7 million people in 2021.13

           51.   The healthcare industry has become a prime target for threat actors: “High demand

for patient information and often-outdated systems are among the nine reasons healthcare is now

the biggest target for online attacks.”14

           52.   Additionally, healthcare providers “store an incredible amount of patient data.

Confidential data that’s worth a lot of money to hackers who can sell it quickly – making the

industry a growing target.”15

           53.   Indeed, cybercriminals seek out PHI at a greater rate than other sources of personal

information. In a 2022 report, the healthcare compliance company Protenus found that there were

905 medical data breaches in 2021, leaving over 50 million patient records exposed for 700 of the

2021 incidents. This is an increase from the 758 medical data breaches that Protenus compiled in

2020.16




13
   Insurance Information Institute, Facts + Statistics: Identity theft and cybercrime, Insurance
Information      Institute,   https://www.iii.org/fact-statistic/facts-statistics-identity-theft-and-
cybercrime#Identity%20Theft%20And%20Fraud%20Reports,%202015-2019%20 (last visited
Sept. 18, 2024).
14
           The        healthcare      industry       is        at        risk,       SwivelSecure
https://swivelsecure.com/solutions/healthcare/healthcare-is-the-biggest-target-for-cyberattacks/
(last visited Sept. 18, 2024).
15
     Id.
16
    2022 Breach Barometer, https://www.protenus.com/breach-barometer-report (last visited
Sept. 18, 2024).


                                                  11

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         54.   The healthcare sector suffered about 337 breaches in the first half of 2022 alone

according to Fortified Health Security’s mid-year report released in July. The percentage of

healthcare breaches attributed to malicious activity rose more than 5 percentage points in the first

six months of 2022 to account for nearly 80 percent of all reported incidents.17

         55.   In light of recent high profile cybersecurity incidents at other healthcare partner and

provider companies, including American Medical Collection Agency (25 million patients, March

2019), University of Washington Medicine (974,000 patients, December 2018), Florida

Orthopedic Institute (640,000 patients, July 2020), Wolverine Solutions Group (600,000 patients,

September 2018), Oregon Department of Human Services (645,000 patients, March 2019), Elite

Emergency Physicians (550,000 patients, June 2020), Magellan Health (365,000 patients, April

2020), and BJC Health System (286,876 patients, March 2020), Defendant knew or should have

known that their electronic records would be targeted by cybercriminals.

         56.   The breadth of data compromised in the Data Breach makes the information

particularly valuable to thieves and leaves Defendant’s patients especially vulnerable to identity

theft, tax fraud, medical fraud, credit and bank fraud and more.

         57.   As indicated by Jim Trainor, former second in command at the FBI’s cyber security

division: “[m]edical records are a gold mine for criminals—they can access a patient’s name, DOB,

Social Security and insurance numbers, and even financial information all in one place. Credit

cards can be, say, five dollars or more where PHI records can go from $20 say up to—we’ve even

seen $60 or $70.”18



17
   Jill McKeon, Health Sector Suffered 337 Healthcare Data Breaches in First Half of Year,
Cybersecurity News (July 19, 2022), https://healthitsecurity.com/news/health-sector-suffered-
337-healthcare-data-breaches-in-first-half-of-year (last visited Sept. 18, 2024).
18
     You Got It, They Want It: Criminals Targeting Your Private Healthcare Data, New Ponemon
                                                 12

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        58.     A complete identity theft kit that includes health insurance credentials may be

worth up to $1,000 on the black market whereas stolen payment card information sells for about

$1.19 According to Experian:

                Having your records stolen in a healthcare data breach can be a
                prescription for financial disaster. If scam artists break into
                healthcare networks and grab your medical information, they can
                impersonate you to get medical services, use your data open credit
                accounts, break into your bank accounts, obtain drugs illegally, and
                even blackmail you with sensitive personal details.

                ID theft victims often have to spend money to fix problems related
                to having their data stolen, which averages $600 according to the
                FTC. But security research firm Ponemon Institute found that
                healthcare identity theft victims spend nearly $13,500 dealing with
                their hassles, which can include the cost of paying off fraudulent
                medical bills.

                Victims of healthcare data breaches may also find themselves being
                denied care, coverage or reimbursement by their medical insurers,
                having their policies canceled or having to pay to reinstate their
                insurance, along with suffering damage to their credit ratings and
                scores. In the worst cases, they've been threatened with losing
                custody of their children, been charged with drug trafficking, found
                it hard to get hired for a job, or even been fired by their employers.20

        59.     Because a person’s identity is akin to a puzzle, the more accurate pieces of data an

identity thief obtains about a person, the easier it is for the thief to take on the victim’s identity or



Study Shows, IDX (May 14, 2015), https://www.idexpertscorp.com/knowledge-center/single/you-
got-it-they-want-it-criminals-are-targeting-your-private-healthcare-dat (last visited Sept. 18,
2024).
19
   Managing cyber risks in an interconnected world, Key findings from The Global State of
Information          Security®         Survey            2015,          PriceWaterhouseCoopers,
https://www.pwc.com/gx/en/consulting-services/information-security-survey/assets/the-global-
state-of-information-security-survey-2015.pdf (last visited Sept. 18, 2024).
20
  Brian O’Connor, Healthcare Data Breach: What to Know About them and What to Do After
One, Experian (June 14, 2018), https://www.experian.com/blogs/ask-experian/healthcare-data-
breach-what-to-know-about-them-and-what-to-do-after-one/ (last visited Sept. 18, 2024).


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to otherwise harass or track the victim. For example, armed with just a name and date of birth, a

data thief can utilize a hacking technique referred to as “social engineering” to obtain even more

information about a victim’s identity, such as a person’s login credentials or Social Security

number. Social engineering is a form of hacking whereby a data thief uses previously acquired

information to manipulate individuals into disclosing additional confidential or personal

information through means such as spam phone calls and text messages or phishing emails.

       60.     In fact, as technology advances, computer programs may scan the Internet with a

wider scope to create a mosaic of information that may be used to link compromised information

to an individual in ways that were not previously possible. This is known as the “mosaic effect.”

Names and dates of birth, combined with contact information like telephone numbers and email

addresses, are very valuable to hackers and identity thieves as it allows them to access users’ other

accounts.

       61.     Thus, even if certain information was not purportedly involved in the Data Breach,

the unauthorized parties could use Plaintiff’s and Class Members’ Private Information to access

accounts, including, but not limited to, email accounts and financial accounts, to engage in a wide

variety of fraudulent activity against Plaintiff and Class Members.

       62.     For these reasons, the FTC recommends that identity theft victims take several

time-consuming steps to protect their personal and financial information after a data breach,

including contacting one of the credit bureaus to place a fraud alert on their account (and an

extended fraud alert that lasts for 7 years if someone steals the victim’s identity), reviewing their

credit reports, contacting companies to remove fraudulent charges from their accounts, placing a




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freeze on their credit, and correcting their credit reports.21 However, these steps do not guarantee

protection from identity theft but can only mitigate identity theft’s long-lasting negative impacts.

       63.      Identity thieves can also use stolen personal information such as Social Security

numbers and PHI for a variety of crimes, including medical identity theft, credit card fraud, phone

or utilities fraud, bank fraud, to obtain a driver’s license or official identification card in the

victim’s name but with the thief’s picture, to obtain government benefits, or to file a fraudulent tax

return using the victim’s information.

       64.     For example, Social Security numbers, which were compromised in the Data

Breach, are among the worst kind of Private Information to have been stolen because they may be

put to a variety of fraudulent uses and are difficult for an individual to change. The Social Security

Administration stresses that the loss of an individual’s Social Security number, as experienced by

Plaintiffs and some Class Members, can lead to identity theft and extensive financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can use
               your number and your good credit to apply for more credit in your
               name. Then, they use the credit cards and don’t pay the bills, it
               damages your credit. You may not find out that someone is using
               your number until you’re turned down for credit, or you begin to get
               calls from unknown creditors demanding payment for items you
               never bought. Someone illegally using your Social Security number
               and assuming your identity can cause a lot of problems.22

       65.     What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of




21
   See The FTC, https://www.identitytheft.gov/Steps (last visited Sept. 18, 2024).
22
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Sept. 18, 2024).


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misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       66.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”23

       67.     There may be a substantial time lag between when harm occurs and when it is

discovered, and also between when PII and/or PHI is stolen and when it is misused.

       68.     According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches: “[I]n some cases, stolen data may be held for up to a year or more before

being used to commit identity theft. Further, once stolen data has been sold or posted on the [Dark]

Web, fraudulent use of that information may continue for years. As a result, studies that attempt

to measure the harm resulting from data breaches cannot necessarily rule out all future harm.”24

       69.     Even if stolen PII or PHI does not include financial or payment card account

information, that does not mean there has been no harm, or that the breach does not cause a

substantial risk of identity theft. Freshly stolen information can be used with success against

victims in specifically targeted efforts to commit identity theft known as social engineering or

spear phishing. In these forms of attack, the criminal uses the previously obtained PII and PHI

about the individual, such as name, address, email address, and affiliations, to gain trust and




23
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
hackers-has-millionsworrying-about-identity-theft (last visited Sept. 18, 2024).
24
  U.S. Gov’t Accountability Office, Report to Congressional Requesters, Personal Information,
June 2007: https://www.gao.gov/new.items/d07737.pdf (last visited Sept. 18, 2024).
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increase the likelihood that a victim will be deceived into providing the criminal with additional

information.

            70.    Based on the value of its patients’ PII and PHI to cybercriminals, Defendant

certainly knew the foreseeable risk of failing to implement adequate cybersecurity measures.

C.          Atrium Breached its Duty to Protect its Patients’ Private Information.

            71.    In or around April 29, 2024, Atrium learned that an unauthorized third party gained

access to several employee email accounts via “phishing.” Atrium allegedly began an investigation

“immediately,” and engaged a forensic consultant to assist with the investigation.25 At that time,

Atrium did not provide any details about the Data Breach whatsoever.

            72.    That investigation apparently confirmed that Atrium did suffer a phishing attack

and the unauthorized third party “may have had access to the affected [email] accounts.”26

            73.    Despite the investigation – that lasted about a month and a half – Atrium was not

able to conclusively determine what the unauthorized third party viewed.

            74.    However, it appears highly likely that cybercriminals had access to and

compromised patients’ Private Information, including Social Security numbers, driver’s

license/state ID information, health and health insurance information, date of birth, financial and

access information and other sensitive information.27

            75.    Upon information and good faith belief, Atrium finished its review of the impacted

data in or about July 17, 2024.




25
     See A Notice to our Patients, supra, note 4.
26
     Id.
27
     Id.


                                                    17

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       76.     Even though Defendant finished reviewing the impacted information around July

2024, Atrium did not begin notifying patients impacted by the Data Breach until on or about

September 13, 2024 – or four and a half months after the Data Breach.

       77.     Even now Atrium still fails to disclose the true size of the Data Breach, refusing

to provide the number of affected victims.

       78.     The Data Breach occurred as a direct result of Defendant’s failure to implement

and follow basic security procedures, and its failure to follow its own policies, in order to protect

its patients’ PII and PHI.

D.     Atrium is Obligated Under HIPAA to Safeguard Private Information.

       79.     Atrium is required by HIPAA to safeguard patient PHI.

       80.     Atrium is an entity covered under HIPAA, which sets minimum federal standards

for privacy and security of PHI.

       81.     HIPAA requires “compl[iance] with the applicable standards, implementation

specifications, and requirements” of HIPAA “with respect to electronic protected health

information.” 45 C.F.R. § 164.302.

       82.     Further to 45 C.F.R. § 160.103, HIPAA defines “protected health information” or

PHI as “individually identifiable health information” that is “transmitted by electronic media;

maintained in electronic media; or transmitted or maintained in any other form or medium.”

       83.     Under C.F.R. 160.103, HIPAA defines “individually identifiable health

information” as “a subset of health information, including demographic information collected from

an individual” that is (1) “created or received by a health care provider;” (2)“[r]elates to the past,

present, or future physical or mental health or condition of an individual; the provision of health

care to an individual; or the past, present, or future payment for the provision of health care to an



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individual;” and (3) either (a) identifies the individual; or (b) with respect to which there is a

reasonable basis to believe the information can be used to identify the individual.”

       84.     HIPAA requires Atrium to: (a) ensure the confidentiality, integrity, and availability

of all electronic PHI it creates, receives, maintains, or transmits; (b) identify and protect against

reasonably anticipated threats to the security or integrity of the electronic PHI; (c) protect against

reasonably anticipated, impermissible uses, or disclosures of the PHI; and (d) ensure compliance

by its workforce to satisfy HIPAA’s security requirements. 45 CFR § 164.102, et. seq.

       85.     The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, also requires

Defendant to provide notice of the Data Breach to each affected individual “without unreasonable

delay and in no case later than 60 days following discovery of the breach.”28

       86.     While HIPAA permits healthcare providers to disclose PHI to third parties under

certain circumstances, HIPAA does not permit healthcare providers to disclose PHI to

cybercriminals nor did Plaintiff or the Class Members consent to the disclosure of their PHI to

cybercriminals.

       87.     As such, Atrium is required under HIPAA to maintain the strictest confidentiality

of Plaintiff’s and Class Members’ PHI that it requires, receives, and collects, and Defendant is

further required to maintain sufficient safeguards to protect that information from being accessed

by unauthorized third parties.

       88.     Given the application of HIPAA to Atrium, and that Plaintiff and Class Members

entrusted their PHI to Defendant in order to receive healthcare services, Plaintiff and Class




28
     Breach Notification Rule, U.S. Dep’t of Health & Human Services,
https://www.hhs.gov/hipaa/for-professionals/breach-notification/index.html (last visited Sept. 18,
2024).
                                                 19

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Members reasonably expected that Defendant would safeguard their highly sensitive information

and keep their PHI confidential.

E.     FTC Guidelines Prohibit Atrium from Engaging in Unfair or Deceptive Acts or
       Practices.

       89.     Atrium is prohibited by the Federal Trade Commission Act, 15 U.S.C. § 45 (“FTC

Act”) from engaging in “unfair or deceptive acts or practices in or affecting commerce.” The

Federal Trade Commission (“FTC”) has concluded that a company’s failure to maintain reasonable

and appropriate data security for consumers’ sensitive personal information is an “unfair practice”

in violation of the FTC Act.

       90.     The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.29

       91.     The FTC provided cybersecurity guidelines for businesses, advising that businesses

should protect personal customer information, properly dispose of personal information that is no

longer needed, encrypt information stored on networks, understand their network’s vulnerabilities,

and implement policies to correct any security problems.30

       92.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to private data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity



29
   Start with Security – A Guide for Business, United States Federal Trade Comm’n (2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last
visited Sept. 18, 2024).
30
   Protecting Personal Information: A Guide for Business, United States Federal Trade Comm’n,
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf (last visited Sept. 18, 2024).


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on the network; and verify that third-party service providers have implemented reasonable security

measures.31

        93.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the FTC Act. Orders resulting from these actions

further clarify the measures businesses must take to meet their data security obligations.

        94.     Atrium failed to properly implement basic data security practices. Atrium’s failure

to employ reasonable and appropriate measures to protect against unauthorized access to patient

PII and PHI constitutes an unfair act of practice prohibited by Section 5 of the FTC Act.

        95.     Atrium was at all times fully aware of its obligations to protect the PII and PHI of

patients because of its position as a healthcare provider, which gave it direct access to reams of

patient PII and PHI. Defendant was also aware of the significant repercussions that would result

from its failure to do so.

F.      The Monetary Value of Private Information.

        96.     As a result of Defendant’s failures, Plaintiff and Class Members are at substantial

increased risk of suffering identity theft and fraud or misuse of their Private Information.

        97.     From a recent study, 28% of consumers affected by a data breach become victims

of identity fraud—this is a significant increase from a 2012 study that found only 9.5% of those

affected by a breach would be subject to identity fraud. Without a data breach, the likelihood of

identify fraud is only about 3%.32



31
   Id.
32
     Stu Sjouwerman, 28 Percent of Data Breaches Lead to Fraud, KnowBe4,
https://blog.knowbe4.com/bid/252486/28-percent-of-data-breaches-lead-to-fraud (last visited
                                                 21

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            98.    With respect to health care breaches, another study found “the majority [70%] of

data impacted by healthcare breaches could be leveraged by hackers to commit fraud or identity

theft.”33

            99.    “Actors buying and selling PII and PHI from healthcare institutions and providers

in underground marketplaces is very common and will almost certainly remain so due to this data’s

utility in a wide variety of malicious activity ranging from identity theft and financial fraud to

crafting of bespoke phishing lures.”34

            100.   The reality is that cybercriminals seek nefarious outcomes from a data breach and

“stolen health data can be used to carry out a variety of crimes.”35

            101.   Indeed, a robust “cyber black market” exists in which criminals openly post stolen

Private Information on multiple underground Internet websites, commonly referred to as the dark

web.

            102.   At an FTC public workshop in 2001, then-Commissioner Orson Swindle described

the value of a consumer’s personal information:

                   The use of third-party information from public records, information
                   aggregators and even competitors for marketing has become a major
                   facilitator of our retail economy. Even [Federal Reserve] Chairman




Sept. 18, 2024).
33
   Jessica David, 70% of Data Involved in Healthcare Breaches Increases Risk of Fraud,
HealthITSecurity,            https://healthitsecurity.com/news/70-of-data-involved-in-healthcare-
breachesincreases-risk-of-fraud (last visited Sept. 18, 2024).
34
     Id.
35
   Andrew Steger, What Happens to Stolen Healthcare Data?, HealthTech (Oct. 30, 2019),
https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-perfcon (last
visited Sept. 18, 2024).


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                [Alan] Greenspan suggested here some time ago that it’s something
                on the order of the life blood, the free flow of information.36

         103.   Commissioner Swindle’s 2001 remarks are even more relevant today, as

consumers’ personal data functions as a “new form of currency” that supports a $26 Billion per

year online advertising industry in the United States.37

         104.   The FTC has also recognized that consumer data is a new (and valuable) form of

currency. In an FTC roundtable presentation, another former Commissioner, Pamela Jones

Harbour, underscored this point:

                Most consumers cannot begin to comprehend the types and amount
                of information collected by businesses, or why their information
                may be commercially valuable. Data is currency. The larger the data
                set, the greater potential for analysis—and profit.38

         105.   Recognizing the high value that consumers place on their Private Information,

many companies now offer consumers an opportunity to sell this information.39 The idea is to

give consumers more power and control over the type of information that they share and who

ultimately receives that information. And, by making the transaction transparent, consumers will




36
   Public Workshop: The Information Marketplace: Merging and Exchanging Consumer Data,
FED.      TRADE         COMM’N           Tr.     at      8:2-8       (Mar.     13,       2001),
https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-
merging-and-exchanging-consumer-data/transcript.pdf (last visited Sept. 18, 2024).
37
  See Julia Angwin & Emily Steel, Web’s Hot New Commodity: Privacy, The Wall Street Journal
(Feb.                                      28,                                       2011),
https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.
38
   Statement of FTC Commissioner Pamela Jones Harbour—Remarks Before FTC Exploring
Privacy      Roundtable,         FED.       TRADE       COMM’N        (Dec.       7,     2009),
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-
privacy-roundtable/091207privacyroundtable.pdf.
39
     Angwin & Steel, supra note 38.


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make a profit from their Private Information. This business has created a new market for the sale

and purchase of this valuable data.

            106.   Consumers place a high value not only on their Private Information, but also on the

privacy of that data. Researchers have begun to shed light on how much consumers value their

data privacy, and the amount is considerable. Indeed, studies confirm that the average direct

financial loss for victims of identity theft in 2014 was $1,349.40

            107.   The value of Plaintiff’s and Class Members’ Private Information on the black

market is substantial. Sensitive health information can sell for as much as $363.41

            108.   This information is particularly valuable because criminals can use it to target

victims with frauds and scams that take advantage of the victim’s medical conditions or victim

settlements. It can be used to create fake insurance claims, allowing for the purchase and resale of

medical equipment, or gain access to prescriptions for illegal use or resale.

            109.   Health information in particular is likely to be used in detrimental ways—by

leveraging sensitive personal health details and diagnoses to extort or coerce someone, and serious

and long-term identity theft.42

            110.   “Medical identity theft is a great concern not only because of its rapid growth rate,

but because it is the most expensive and time consuming to resolve of all types of identity theft.




40
  See U.S. Dep’t of Justice, Victims of Identity Theft, OFFICE OF JUSTICE PROGRAMS: BUREAU OF
JUSTICE STATISTICS 1 (Nov. 13, 2017), https://www.bjs.gov/content/pub/pdf/vit14.pdf.
41
     Center for Internet Security, Data Breaches: In the                          Healthcare    Sector,
https://www.cisecurity.org/blog/data-breaches-in-the-healthcare-sector/.
42
     Id.


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Additionally, medical identity theft is very difficult to detect which makes this form of fraud

extremely dangerous.”43

        111.    Medical identity theft can result in inaccuracies in medical records and costly false

claims. It can also have life-threatening consequences. If a victim’s health information is mixed

with other records, it can lead to misdiagnosis or mistreatment. “Medical identity theft is a growing

and dangerous crime that leaves its victims with little to no recourse for recovery,” reported Pam

Dixon, executive director of World Privacy Forum. “Victims often experience financial

repercussions and worse yet, they frequently discover erroneous information has been added to

their personal medical files due to the thief’s activities.”44

        112.    The Federal Trade Commission has warned consumers of the dangers of medical

identity theft, stating that criminals can use personal information like a “health insurance account

number or Medicare number” to “see a doctor, get prescription drugs, buy medical devices, submit

claims with your insurance provider, or get other medical care.” The FTC further warns that

instances of medical identity theft “could affect the medical care you’re able to get or the health

insurance benefits you’re able to use[,]” while also having a negative impact on credit scores.45




43
  The Potential Damages and Consequences of Medical Identity theft and Healthcare Data
Breaches, Experian, https://www.experian.com/assets/data-breach/white-papers/consequences-
medical-id-theft-healthcare.pdf (last visited Sept. 18, 2024).
44
   Michael Ollove, The Rise of Medical Identity Theft in Healthcare, KAISER (Feb. 7, 2014)
https://khn.org/news/rise-of-indentity-theft/.
45
 Federal Trade Commission, What to Know About Medical Identity Theft, What To Know About
Medical Identity Theft | Consumer Advice (ftc.gov) (last visited Sept. 18, 2024).


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        113.    Here, where health insurance information was among the Private Information

impacted in the Data Breach, Plaintiff’s and Class Members’ risk of suffering future medical

identity theft is especially substantial.46

        114.    The ramifications of Atrium’s failure to keep its patients’ Private Information

secure are long-lasting and severe. Once Private Information is stolen, fraudulent use of that

information and damage to victims may continue for years. Fraudulent activity might not show up

for 6 to 12 months or even longer.

        115.    Approximately 21% of victims do not realize their identity has been compromised

until more than two years after it has happened.47 This gives thieves ample time to seek multiple

treatments under the victim’s name. Forty percent of consumers found out they were a victim of

medical identity theft only when they received collection letters from creditors for expenses that

were incurred in their names.48

        116.    Indeed, when compromised, healthcare related data is among the most private and

personally consequential. A report focusing on healthcare breaches found that the “average total

cost to resolve an identity theft-related incident . . . came to about $20,000,” and that the victims




46
     See American Association of Retired Persons, Watch for Medical Identity Theft,
https://www.aarp.org/money/scams-fraud/info-11-
2010/watch_for_medical_wy.html#:~:text=Medical%20identity%20theft%20is%20when%20so
meone%20uses%20your,You%20can%20be%20harmed%20by%20medical%20identity%20thef
t (last visited Sept. 18, 2024).
47
  See Medical ID Theft Checklist, IDENTITYFORCE, https://www.identityforce.com/blog/medical-
id-theft-checklist-2 (last visited Sept. 18, 2024).
48
  The Potential Damages and Consequences of Medical Identify Theft and Healthcare Data
Breaches, EXPERIAN, (Apr. 2010), https://www.experian.com/assets/data-breach/white-
papers/consequences-medical-id-theft-healthcare.pdf.


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were often forced to pay out-of-pocket costs for healthcare they did not receive in order to restore

coverage.49

            117.   Almost 50% of the surveyed victims lost their healthcare coverage as a result of the

incident, while nearly 30% said their insurance premiums went up after the event. Forty percent

of the victims were never able to resolve their identity theft at all. Seventy-four percent said that

the effort to resolve the crime and restore their identity was significant or very significant. Data

breaches and identity theft, including medical identity theft, have a crippling effect on individuals

and detrimentally impact the economy as a whole.50

            118.   At all relevant times, Defendant was well-aware, or reasonably should have been

aware, that the Private Information it maintains is highly sensitive and could be used for wrongful

purposes by third parties, such as identity theft (including medical identity theft) and fraud.

            119.   Upon information and good faith belief, had Defendant remedied the deficiencies

in its security systems, followed industry guidelines, and adopted security measures recommended

by experts in the field, it would have prevented the ransomware attack into its systems and,

ultimately, the theft of the Private Information of patients within its systems.

            120.   The compromised Private Information in the Data Breach is of great value to

hackers and thieves and can be used in a variety of ways. Information about, or related to, an

individual for which there is a possibility of logical association with other information is of great

value to hackers and thieves.




49
   Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010),
https://www.cnet.com/news/privacy/study-medical-identity-theft-is-costly-for-victims/.
50
     Id.


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        121.    Indeed, “there is significant evidence demonstrating that technological advances

and the ability to combine disparate pieces of data can lead to identification of a consumer,

computer or device even if the individual pieces of data do not constitute PII.”51 For example,

different PII elements from various sources may be able to be linked in order to identify an

individual, or access additional information about or relating to the individual.52

        122.    Based upon information and belief, the unauthorized parties have already utilized,

and will continue utilize, the Private Information they obtained through the Data Breach to obtain

additional information from Plaintiff and Class Members that can be misused.

        123.    In addition, as technology advances, computer programs may scan the Internet with

wider scope to create a mosaic of information that may be used to link information to an individual

in ways that were not previously possible. This is known as the “mosaic effect.”

        124.    Names and dates of birth, combined with contact information like telephone

numbers and email addresses, are very valuable to hackers and identity thieves as it allows them

to access users’ other accounts.

        125.    Thus, even if payment card information were not involved in the Data Breach, the

unauthorized parties could use Plaintiff’s and Class Members’ Private Information to access

accounts, including, but not limited to email accounts and financial accounts, to engage in the

fraudulent activity identified by Plaintiffs.




51
   Protecting Consumer Privacy in an Era of Rapid Change: A Proposed Framework for
Businesses and Policymakers, Preliminary FTC Staff Report, FED. TRADE COMM’N 35-38 (Dec.
2010), https://www.ftc.gov/reports/preliminary-ftc-staff-report-protecting-consumer-privacy-era-
rapid-change-proposed-framework.
52
  See id. (evaluating privacy framework for entities collecting or using consumer data with can be
“reasonably linked to a specific consumer, computer, or other device”).
                                                 28

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       126.    Given these facts, any company that transacts business with customers and then

compromises the privacy of customers’ Private Information has thus deprived customers of the

full monetary value of their transaction with the company.

       127.    In short, the Private Information exposed is of great value to hackers and cyber

criminals and the data compromised in the Data Breach can be used in a variety of unlawful

manners, including opening new credit and financial accounts in users’ names.

G.     Plaintiff & Class Members Have Suffered Compensable Damages.

       128.    For the reasons mentioned above, Defendant’s conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class Members significant injuries and harm in several ways.

       129.    The risks associated with identity theft, including medical identity theft, are serious.

While some identity theft victims can resolve their problems quickly, others spend hundreds to

thousands of dollars and many days repairing damage to their good name and credit record. Some

consumers victimized by identity theft may lose out on job opportunities, or be denied loans for

education, housing or cars because of negative information on their credit reports. In rare cases,

they may even be arrested for crimes they did not commit.

       130.    In order to mitigate against the risks of identity theft and fraud, Plaintiff and

members of the Class must immediately devote time, energy, and money to: 1) closely monitor

their medical statements, bills, records, and credit and financial accounts; 2) change login and

password information on any sensitive account even more frequently than they already do; 3) more

carefully screen and scrutinize phone calls, emails, and other communications to ensure that they

are not being targeted in a social engineering or spear phishing attack; and 4) search for suitable

identity theft protection and credit monitoring services, and pay to procure them.




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       131.    Once Private Information is exposed, there is virtually no way to ensure that the

exposed information has been fully recovered or obtained against future misuse. For this reason,

Plaintiff and Class Members will need to maintain these heightened measures for years, and

possibly their entire lives as a result of Defendant’s conduct.

       132.    Further, the value of Plaintiff and Class Members’ PII and PHI has been diminished

by its exposure in the Data Breach.

       133.    Plaintiff and Class Members now face a greater risk of identity theft, including

medical and financial identity theft.

       134.    Plaintiff and Class Members are also at a continued risk because their information

remains in Defendant’s systems, which have already been shown to be susceptible to compromise

and attack and is subject to further attack so long as Defendant fails to undertake the necessary and

appropriate security and training measures to protect its patients’ PII and PHI.

       135.    Plaintiff and Class Members have suffered emotional distress as a result of the Data

Breach, the increased risk of identity theft and financial fraud, and the unauthorized exposure of

their private medical information to strangers.

       136.    Plaintiff and Class Members also did not receive the full benefit of their bargain

when paying for medical services. Instead, they received services of a diminished value to those

described in their agreements with Defendant. Plaintiff and Class Members were damaged in an

amount at least equal to the difference in the value between the services they thought they paid for

(which would have included adequate data security protection) and the services they actually

received.

       137.    Plaintiff and Class Members would not have obtained services from Atrium had

they known that Defendant failed to properly train its employees, lacked safety controls over its



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computer network, and did not have proper data security practices to safeguard their Private

Information from criminal theft and misuse.

       138.    Finally, in addition to a remedy for the economic harm, Plaintiff and Class

Members maintain an undeniable interest in ensuring that their Private Information remains secure

and is not subject to further misappropriation and theft.

                       REPRESENTATIVE PLAINTIFF’S EXPERIENCE

Plaintiff Brown

       139.    Several years ago, Plaintiff Brown started to utilize Atrium for healthcare services.

       140.    While seeking those services and treatments, Atrium required Plaintiff to provide—

and Plaintiff provided—Private Information including her first and last name, birth date, email

address, phone number and reason for visit.

       141.    Upon becoming a patient, Plaintiff was asked by Defendant to provide additional

personal information including her Social Security number, health insurance, and financial

information.

       142.    To her knowledge, Plaintiff has never been the victim of a prior data breach.

       143.    As a direct result of the Data Breach, Plaintiff has suffered or will imminently suffer

injury from the unauthorized disclosure and misuse of her Private Information that can be directly

traced to Defendant.

       144.    On information and belief, Plaintiff’s Private Information unauthorizedly disclosed

in the Data Breach is now in the possession of cybercriminals and/or on the Dark Web where it

can be sold and utilized for fraudulent and criminal purposes.

       145.    In addition, Plaintiff must now spend time and effort attempting to remediate the

harmful effects of the Data Breach, including monitoring their credit reports, and fears for their



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personal financial security and uncertainty over the information compromised in the Data Breach.

She is experiencing feelings of anxiety, sleep disruption, stress, and fear because of the Data

Breach. This goes far beyond allegations of mere worry or inconvenience; it is exactly the sort of

injury and harm to a Data Breach victim that is contemplated and addressed by law.

       146.    Plaintiff was highly disturbed by the Data Breach’s nature and the thought of

cybercriminals accessing her highly sensitive Private Information and the harm caused by the Data

Breach.

       147.    As a result of Atrium’s Data Breach, Plaintiff faces a lifetime risk of additional

identity theft, as it includes sensitive information that cannot be changed, like her Social Security

number.

                                    CLASS ALLEGATIONS

       148.    Plaintiff brings this class action on behalf of herself and all other individuals who

are similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure.

       149.    Plaintiff seeks to represent a Nationwide Class of persons to be defined as follows:

               All individuals in the United States whose PII and/or PHI was
               compromised in the Atrium Data Breach which occurred in or
               about April 2024 and was announced in September 2024 (the
               “Nationwide Class”).

       150.    Plaintiff also seeks to represent a North Carolina Subclass of persons to be defined

as follows:

               All individuals in North Carolina whose PII and/or PHI was
               compromised in the Atrium Data Breach which occurred in or
               about April 2024 and was announced in September 2024 (the
               “North Carolina Class”).

       151.    Excluded from the Classes are Defendant, its subsidiaries and affiliates, officers

and directors, any entity in which Defendant has a controlling interest, the legal representative,



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heirs, successors, or assigns of any such excluded party, the judicial officer(s) to whom this action

is assigned, and the members of their immediate families.

       152.    This proposed class definition is based on the information available to Plaintiff at

this time. Plaintiff may modify the class definition in an amended pleading or when she moves for

class certification, as necessary to account for any newly learned or changed facts as the situation

develops and discovery gets underway.

       153.    Numerosity: Plaintiff is informed and believes, and thereon alleges, that there are

at minimum, thousands of members of the Classes described above. The exact size of the Classes

and the identities of the individual members are identifiable through Defendant’s records,

including but not limited to the files implicated in the Data Breach, but based on public

information, the Classes include thousands of individuals, if not substantially more.

       154.    Commonality: This action involved questions of law and fact common to the

Classes. Such common questions include but are not limited to:

       a.      Whether Defendant failed to timely notify Plaintiff and Class
               Members of the Data Breach;
       b.      Whether Defendant had a duty to protect the PII and PHI of Plaintiff
               and Class Members;
       c.      Whether Defendant was negligent in collecting and storing
               Plaintiff’s and Class Members’ PII and PHI, and breached its duties
               thereby;
       d.      Whether Defendant entered into an implied contract with Plaintiff
               and Class Members;
       e.      Whether Defendant breached that contract by failing to adequately
               safeguard Plaintiff’s and Class Members’ PII and PHI;
       f.      Whether Defendant was unjustly enriched;
       g.      Whether Plaintiff and Class Members are entitled to damages as a
               result of Defendant’s wrongful conduct; and



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       h.      Whether Plaintiff and Class Members are entitled to declaratory
               judgment due to Defendant’s wrongful conduct.
       155.    Typicality: Plaintiff’s claims are typical of the claims of the members of the

Classes. The claims of the Plaintiff and members of the Classes are based on the same legal theories

and arise from the same unlawful and willful conduct. Plaintiff and members of the Classes were

all patients, or family members or caregivers of patients, of Defendant, each having their PII and

PHI exposed and/or accessed by an unauthorized third party.

       156.    Adequacy of Representation: Plaintiff is an adequate representative of the Classes

because her interests do not conflict with the interests of the members of the Classes. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the Classes

and have no interests antagonistic to the members of the Classes. In addition, Plaintiff has retained

counsel who are competent and experienced in the prosecution of class action litigation. The claims

of Plaintiff and the Class Members are substantially identical as explained above.

       157.    Superiority: This class action is appropriate for certification because class

proceedings are superior to other available methods for the fair and efficient adjudication of this

controversy and joinder of all members of the Classes is impracticable. This proposed class action

presents fewer management difficulties than individual litigation, and provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court. Class

treatment will create economies of time, effort, and expense, and promote uniform decision-

making.

       158.    Predominance: Common questions of law and fact predominate over any

questions affecting only individual Class Members. Similar or identical violations, business

practices, and injuries are involved. Individual questions, if any, pale by comparison, in both

quality and quantity, to the numerous common questions that dominate this action. For example,


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Defendant’s liability and the fact of damages is common to Plaintiff and each member of the

Classes. If Defendant breached its duty to Plaintiff and Class Members, then Plaintiff and each

Class member suffered damages by that conduct.

       159.     Injunctive Relief: Defendant has acted and/or refused to act on grounds that apply

generally to the Classes, making injunctive and/or declaratory relief appropriate with respect to

the Class under Fed. Civ. P. 23 (b)(2).

       160.     Ascertainability: Members of the Classes are ascertainable. Class membership is

defined using objective criteria and Class Members may be readily identified through Defendant’s

books and records.

                                      CAUSES OF ACTION

                                              COUNT I

                                        NEGLIGENCE
                         (On behalf of Plaintiff & the Nationwide Class)

       161.     Plaintiff restates and realleges all preceding factual allegations above as if fully set

forth herein.

       162.     Plaintiff brings this claim individually and on behalf of the Nationwide Class.

       163.     Defendant owed a duty under common law to Plaintiff and Class Members to

exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting, and protecting

their PII and PHI in Defendant’s possession from being compromised, lost, stolen, accessed, and

misused by unauthorized persons.

       164.     Defendant’s duty to use reasonable care arose from several sources, including but

not limited to those described below.

       165.     Defendant had a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiff and Class Members were the foreseeable and probable victims of any

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inadequate security practices on the part of the Defendant. By collecting and storing valuable PII

and PHI that is routinely targeted by criminals for unauthorized access, Defendant was obligated

to act with reasonable care to protect against these foreseeable threats.

       166.    Defendant’s duty also arose from Defendant’s position as a healthcare provider.

Defendant holds itself out as a trusted provider of healthcare, and thereby assumes a duty to

reasonably protect its patients’ information. Indeed, Defendant was in a unique and superior

position to protect against the harm suffered by Plaintiff and Class Members as a result of the Data

Breach.

       167.    Defendant’s duties also arose from statutes applicable to Defendant designed to

prevent the harm that Plaintiff and Class Members suffered and will continue to suffer.

       168.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce”

including, as interpreted and enforced by the FTC, the unfair act or practice by entities such as

Defendant or failing to use reasonable measures to protect PII and PHI. Various FTC publications

and orders also form the basis of Defendant’s duty.

       169.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and PHI and not complying with the industry standards. Defendant’s conduct was

particularly unreasonable given the nature and amount of PII and PHI they obtained and stored

and the foreseeable consequences of a data breach involving PII and PHI of its patients.

       170.    Plaintiff and members of the Class are consumers within the class of persons

Section 5 of the FTC Act was intended to protect.

       171.    Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

       172.    Atrium is an entity covered under HIPAA which sets minimum federal standards

for privacy and security of PHI.


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          173.   Pursuant to HIPAA, 42 U.S.C. § 1302d, et. seq., and its implementing regulations,

Defendant had a duty to implement and maintain reasonable and appropriate administrative,

technical, and physical safeguards to protect Plaintiff’s and the Class Members’ electronic PHI.

          174.   Specifically, HIPAA required Defendant to: (a) ensure the confidentiality, integrity,

and availability of all electronic PHI it creates, receives, maintains, or transmits; (b) identify and

protect against reasonably anticipated threats to the security or integrity of the electronic PHI; (c)

protect against reasonably anticipated, impermissible uses, or disclosures of the PHI; and (d)

ensure compliance by their workforce to satisfy HIPAA’s security requirements. 45 C.F.R. §

164.102, et. seq.

          175.   Defendant violated HIPAA by actively disclosing Plaintiff’s and the Class

Members’ electronic PHI and by failing to provide fair, reasonable, or adequate computer systems

and data security practices to safeguard Plaintiff’s and Class Members’ PHI.

          176.   Plaintiff and the Class Members are patients within the class of persons HIPAA

was intended to protect.

          177.   Defendant’s violation of HIPAA constitutes negligence per se.

          178.   The harm that has occurred as a result of Defendant’s conduct is the type of harm

that the FTC Act and HIPAA were intended to guard against.

          179.   As a direct and proximate result of Defendant’s negligence, Plaintiff’s and Class

Members have been injured as described herein and in Paragraph 96 above, and are entitled to

damages, including compensatory, punitive, and nominal damages, in an amount to be proven at

trial.

          180.   Defendant breached the duties owed to Plaintiff and Class Members and thus was

negligent. As a result of a successful attack directed towards Defendant that compromised



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Plaintiff’s and Class Members’ PII and PHI, Defendant breached its duties through some

combination of the following errors and omissions that allowed the data compromise to occur: (a)

mismanaging its system and failing to identify reasonably foreseeable internal and external risks

to the security, confidentiality, and integrity of patient information that resulted in the unauthorized

access and compromise of PII and PHI; (b) mishandling its data security by failing to assess the

sufficiency of its safeguards in place to control these risks; (c) failing to design and implement

information safeguards to control these risks; (d) failing to adequately test and monitor the

effectiveness of the safeguards’ key controls, systems, and procedures; (e) failing to evaluate and

adjust its information security program in light of the circumstances alleged herein; (f) failing to

detect the breach at the time it began or within a reasonable time thereafter; (g) failing to follow

its own privacy policies and practices published to its patients; and (h) failing to adequately train

and supervise employees and third party vendors with access or credentials to systems and

databases containing sensitive PII or PHI.

       181.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their PII and PHI would not have been compromised.

       182.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members have suffered injuries, including:

               a.      Theft of their PII and/or PHI;

               b.      Costs associated with the detection and prevention of identity theft
                       and unauthorized use of the financial accounts;

               c.      Costs associated with purchasing credit monitoring and identity
                       theft protection services;

               d.      Lowered credit scores resulting from credit inquiries following
                       fraudulent activities;




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               e.     Costs associated with time spent and the loss of productivity from
                      taking time to address and attempt to ameliorate, mitigate, and deal
                      with the actual and future consequences of the Data Breach –
                      including finding fraudulent charges, cancelling and reissuing cards,
                      enrolling in credit monitoring and identity theft protection services,
                      freezing and unfreezing accounts, and imposing withdrawal and
                      purchase limits on compromised accounts;

               f.     The imminent and certainly impending injury flowing from the
                      increased risk of potential fraud and identity theft posed by their PII
                      and/or PHI being placed in the hands of criminals;

               g.     Damages to and diminution in value of their PII and PHI entrusted,
                      directly or indirectly, to Defendant with the mutual understanding
                      that Defendant would safeguard Plaintiff’s and Class Members’ data
                      against theft and not allow access and misuse of their data by others;

               h.     Continued risk of exposure to hackers and thieves of their PII and/or
                      PHI, which remains in Defendant’s possession and is subject to
                      further breaches so long as Defendant fails to undertake appropriate
                      and adequate measures to protect Plaintiff’s and Class Members’
                      data;

               i.     Future costs in terms of time, effort, and money that will be
                      expended as a result of the Data Breach for the remainder of the lives
                      of Plaintiff and Class Members;

               j.     The diminished value of the services they paid for and received and

               k.     Emotional distress from the unauthorized disclosure of PII and PHI
                      to strangers who likely have nefarious intentions and now have
                      prime opportunities to commit identity theft, fraud, and other types
                      of attacks on Plaintiff and Class Members.

       183.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.




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                                             COUNT II

                             BREACH OF IMPLIED CONTRACT
                          (On behalf of Plaintiff & the Nationwide Class)

       184.     Plaintiff restates and realleges all preceding factual allegations above as if fully set

forth herein.

       185.     Plaintiff brings this claim individually and on behalf of the Nationwide Class.

       186.     When Plaintiff and Class Members provided their PII and PHI to Atrium, they

entered into implied contracts with Defendant, under which Defendant agree to take reasonable

steps to protect Plaintiff’s and Class Members’ PII and PHI, comply with its statutory and common

law duties to protect Plaintiff’s and Class Members’ PII and PHI, and to timely notify them in the

event of a data breach.

       187.     Atrium solicited and invited Plaintiff and Class Members to provide their PII and

PHI as part of Defendant’s provision of healthcare services. Plaintiff and Class Members accepted

Defendant’s offers and provided their PII and PHI to Defendant.

       188.     Implicit in the agreement between Plaintiff and Class Members and Atrium, was

Defendant’s obligation to: (a) use such PII and PHI for business purposes only; (b) take reasonable

steps to safeguard Plaintiff’s and Class Members’ PII and PHI; (c) prevent unauthorized access

and/or disclosure of Plaintiff’s and Class Members’ PII and PHI; (d) provide Plaintiff and Class

Members with prompt and sufficient notice of any and all unauthorized access and/or disclosure

of their PII and PHI; (e) reasonably safeguard and protect the PII and PHI of Plaintiff and Class

Members from unauthorized access and/or disclosure; and (f) retain Plaintiff’s and Class

Members’ PII and PHI under conditions that kept such information secure and confidential.

       189.     When entering into implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with its statutory and

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common law duties to adequately protect Plaintiff’s and Class Members’ PII and PHI and to timely

notify them in the event of a data breach.

       190.    Plaintiff and Class Members paid money to Defendant in exchange for services,

along with Defendant’s promise to protect their PII and PHI from unauthorized access and

disclosure. Plaintiff and Class Members reasonably believed and expected that Defendant would

use part of those funds to obtain adequate data security. Atrium failed to do so.

       191.    Plaintiff and Class Members would not have provided their PII and PHI to Atrium

had they known that Defendant would not safeguard their PII and PHI, as promised, or provide

timely notice of a data breach.

       192.    Plaintiff and Class Members fully and adequately performed their obligations under

the implied contracts with Defendant.

       193.    Atrium breached its implied contracts with Plaintiff and Class Members by failing

to safeguard their PII and PHI and by failing to provide them with timely and accurate notice of

the Data Breach

       194.    The losses and damages Plaintiff and Class Members sustained, include, but are not

limited to:

               a.      Theft of their PII and/or PHI;

               b.      Costs associated with purchasing credit monitoring and identity
                       theft protection services;

               c.      Costs associated with the detection and prevention of identity theft
                       and unauthorized use of their PII and PHI;

               d.      Lowered credit scores resulting from credit inquiries following
                       fraudulent activities;

               e.      Costs associated with time spent and the loss of productivity from
                       taking time to address and attempt to ameliorate, mitigate, and deal
                       with the actual and future consequences of the Data Breach –

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                      including finding fraudulent charges, cancelling and reissuing cards,
                      enrolling in credit monitoring and identity theft protection services,
                      freezing and unfreezing accounts, and imposing withdrawal and
                      purchase limits on compromised accounts;
               f.     The imminent and certainly impending injury flowing from the
                      increased risk of potential fraud and identity theft posed by their PII
                      and/or PHI being placed in the hands of criminals;


               g.     Damages to and diminution in value of their PII and PHI entrusted,
                      directly or indirectly, to Defendant with the mutual understanding
                      that Defendant would safeguard Plaintiff’s and Class Members’ data
                      against theft and not allow access and misuse of their data by others;
               h.     Continued risk of exposure to hackers and thieves of their PII and/or
                      PHI, which remains in Defendant’s possession and is subject to
                      further breaches so long as Defendant fails to undertake appropriate
                      and adequate measures to protect Plaintiff’s and Class Members’
                      data;
               i.     Future costs in terms of time, effort, and money that will be
                      expended as a result of the Data Breach for the remainder of the lives
                      of Plaintiff and Class Members;
               j.     The diminished value of the services they paid for and received; and
               k.     Emotional distress from the unauthorized disclosure of PII and PHI
                      to strangers who likely have nefarious intentions and now have
                      prime opportunities to commit identity theft, fraud, and other types
                      of attacks on Plaintiff and Class Members.
       195.    As a direct and proximate result of Atrium’s breach of contract, Plaintiff and Class

Members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.

       196.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (1) strength its data security systems and monitoring procedures; (2) submit to

future annual audits of those systems and monitoring procedures; and (3) immediately provide and

continue to provide adequate credit monitoring to Plaintiff and all Class Members.




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                                             COUNT III

  BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                 (On behalf of Plaintiff & the Nationwide Class)

       197.     Plaintiff restates and realleges all preceding factual allegations above as if fully set

forth herein.

       198.     Plaintiff brings this claim individually and on behalf of the Nationwide Class.

       199.     Every contract in this State has an implied covenant of good faith and fair dealing.

This implied covenant is an independent duty and may be breached even when there is no breach

of a contract’s actual and/or express terms.

       200.     Plaintiff and Class Members have complied with and performed all conditions of

their contracts with Defendant.

       201.     Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard Private

Information, failing to timely and accurately disclose the Data Breach to Plaintiff and Class

Members, and continued acceptance of and storage of Private Information after Defendant knew

or should have known of the security vulnerabilities of the systems that were exploited in the Data

Breach.

       202.     Defendant acted in bad faith and/or with malicious motive in denying Plaintiffs and

Class Members the full benefit of their bargains as originally intended by the parties, thereby

causing them injury in an amount to be determined at trial.




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                                           COUNT IV

                                 UNJUST ENRICHMENT
                        (On behalf of Plaintiff & the Nationwide Class)

       203.    Plaintiff brings this claim individually and on behalf of the Nationwide Class in the

alternative to the Second Cause of Action above.

       204.    Upon information and belief, Defendant funds its data security measures from its

general revenue including payments made by or on behalf of Plaintiff and Class Members.

       205.    As such, a portion of the payments made by or on behalf of Plaintiff and the Class

Members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendant.

       206.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they purchased healthcare services from Defendant and/or its agents and in so doing

provided Defendant with their PII and PHI.

       207.    In exchange, Plaintiff and Class Members should have received from Defendant

the goods and services that were the subject of the transaction and have their PII and PHI protected

with adequate data security.

       208.    Defendant knew that Plaintiff and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the PII and PHI of

Plaintiff and Class Members for business purposes.

       209.    In particular, Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff’s and Class Members PII and PHI.

Instead of providing a reasonable level of data security that would have prevented the Data Breach,

Defendant instead calculated to increase its own profits and the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective data security measures.

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       210.    Under the principles of equity and good conscience, Atrium should not be permitted

to retain the money belonging to Plaintiff and Class Members because Defendant failed to

implement appropriate data management and security measures that are mandated by its common

law and statutory duties.

       211.    Defendant failed to secure Plaintiff and Class Members’ PII and PHI and, therefore,

did not provide full compensation for the benefit Plaintiff and Class Members conferred upon

Atrium.

       212.    Defendant acquired Plaintiff’s and Class Members’ PII and PHI through

inequitable means in that it failed to disclose the inadequate security practices previously alleged.

       213.    If Plaintiff and Class Members knew that Defendant had not reasonably secured

their PII and PHI, they would not have agreed to provide their PII and PHI to Defendant.

       214.    Plaintiff and Class Members have no adequate remedy at law.

       215.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered injuries, including:

                a)     Theft of their PII and/or PHI;

                b)     Costs associated with the detection and prevention of identity theft
                       and unauthorized use of the financial accounts;

                c)     Costs associated with purchasing credit monitoring and identity
                       theft protection services;

                d)     Lowered credit scores resulting from credit inquiries following
                       fraudulent activities;

                e)     Costs associated with time spent and the loss of productivity from
                       taking time to address and attempt to ameliorate, mitigate, and deal
                       with the actual and future consequences of the Data Breach –
                       including finding fraudulent charges, cancelling and reissuing
                       cards, enrolling in credit monitoring and identity theft protection
                       services, freezing and unfreezing accounts, and imposing
                       withdrawal and purchase limits on compromised accounts;
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               f)     The imminent and certainly impending injury flowing from the
                      increased risk of potential fraud and identity theft posed by their
                      PII and/or PHI being placed in the hands of criminals;

               g)     Damages to and diminution in value of their PII and PHI entrusted,
                      directly or indirectly, to Defendant with the mutual understanding
                      that Defendant would safeguard Plaintiff’s and Class Members’
                      data against theft and not allow access and misuse of their data by
                      others;

               h)     Continued risk of exposure to hackers and thieves of their PII
                      and/or PHI, which remains in Defendant’s possession and is
                      subject to further breaches so long as Defendant fails to undertake
                      appropriate and adequate measures to protect Plaintiff’s and Class
                      Members’ data;

               i)     Future costs in terms of time, effort, and money that will be
                      expended as a result of the Data Breach for the remainder of the
                      lives of Plaintiff and Class Members;

               j)     The diminished value of the services they paid for and received;
                      and

               k)     Emotional distress from the unauthorized disclosure of PII and
                      PHI to strangers who likely have nefarious intentions and now
                      have prime opportunities to commit identity theft, fraud, and other
                      types of attacks on Plaintiff and Class Members.

       216.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

noneconomic losses.

       217.   Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff and

Class Members overpaid for Defendant’s services.


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                                             COUNT V

                              BREACH OF FIDUCIARY DUTY
                         (On behalf of Plaintiff & the Nationwide Class)

        218.    Plaintiff restates and realleges all preceding factual allegations above as if fully set

forth herein.

        219.    Plaintiff brings this claim individually and on behalf of the Nationwide Class.

        220.    In light of the special relationship between Defendant and Plaintiff and Class

Members, whereby Defendant became the guardian of Plaintiff’s and Class Members’ PII,

Defendant became a fiduciary by its undertaking and guardianship of the PII to act primarily for

Plaintiff and Class Members, (i) for the safeguarding of Plaintiff’s and Class Members’ PII, (ii) to

timely notify Plaintiff and Class Members of a data breach and disclosure, and (iii) to maintain

complete and accurate records of what information (and where) Defendant did has and continues

to store.

        221.    Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class Members

upon matters within the scope of its relationship with its customers’ employees and former

employees—in particular, to keep their PII secure.

        222.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to diligently discover, investigate, and give notice of the Data Breach in a reasonable and

practicable period of time.

        223.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to encrypt and otherwise protect the integrity of the systems containing Plaintiff’s and Class

Members’ PII.



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        224.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to timely notify and/or warn Plaintiff and Class Members of the Data Breach.

        225.    Defendant breached its fiduciary duties to Plaintiff and Class Members by

otherwise failing to safeguard Plaintiff’ and Class Members’ PII.

        226.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer injury, including but not

limited to: (i) actual identity theft, (ii) the compromise, publication, and/or theft of their PII, (iii)

out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft

and/or unauthorized use of their PII, (iv) lost opportunity costs associated with effort expended

and the loss of productivity addressing and attempting to mitigate the actual and future

consequences of the Data Breach, including but not limited to efforts spent researching how to

prevent, contest, and recover from identity theft, (v) the continued risk to their PII, which remains

in Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect the PII in its continued possession,

(vi) future costs in terms of time, effort, and money that will be expended as result of the Data

Breach for the remainder of the lives of Plaintiff and Class Members, and (vii) the diminished

value of Defendant’s services they received.

        227.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.




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                                             COUNT VI

    VIOLATION OF THE NORTH CAROLINA UNFAIR TRADE PRACTICES ACT
               (On behalf of Plaintiff and the North Carolina Class)

        228.    Plaintiff restates and realleges the allegations in the preceding paragraphs as if fully

set forth herein.

        229.    Plaintiff brings this count on behalf of herself and the North Carolin Class (for the

purposes of this count, “Class Members”).

        230.    Defendant advertised, offered, or sold goods or services in North Carolina and

engaged in trade or commerce directly or indirectly affecting the people of North Carolina, as

defined by N.C. Gen. Stat. Ann. § 75-1.1(b).

        231.    Defendant engaged in unfair and deceptive acts and practices in or affecting

commerce, in violation of N.C. Gen. Stat. Ann. § 75-1.1, including:

        a. Failing to implement and maintain reasonable security and privacy measures to

        protect Plaintiff’s and Class Members’ PII, which was a direct and proximate

        cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified

        security and privacy risks, and adequately improve security and privacy measures

        following previous cybersecurity incidents, which was a direct and proximate

        cause of the Data Breach;

        c. Failing to comply with common law and statutory duties pertaining to the

        security and privacy of Plaintiff’s and Class Members’ PII, including duties

        imposed by the FTC Act, 15 U.S.C. § 45, the FCRA, 15 U.S.C. § 1681e, and the

        GLBA, 15 U.S.C. § 6801, et seq., which was a direct and proximate cause of the

        Data Breach;

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          d. Omitting, suppressing, and concealing the material fact that it did not

          reasonably or adequately secure Plaintiff’s and Class Members’ PII; and

          e. Omitting, suppressing, and concealing the material fact that it did not comply

          with common law and statutory duties pertaining to the security and privacy of

          Plaintiff’s and Class Members’ PII, including duties imposed by the FTC Act, 15

          U.S.C. § 45, the FCRA, 15 U.S.C. § 1681e, and the GLBA, 15 U.S.C. § 6801, et

          seq.

          232.   Defendant’s omissions were material because they were likely to deceive

reasonable consumers about the adequacy of Defendant’s data security and ability to protect the

confidentiality of consumers’ PII.

          233.   Defendant intended to mislead Plaintiff and Class Members and induce them to rely

on its omissions.

          234.   Had Defendant disclosed to Plaintiff and Class Members that its data systems were

not secure and, thus, vulnerable to attack, Defendant would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Defendant accepted the PII that Plaintiff and Class Members entrusted to it while

keeping the inadequate state of its security controls secret from the public. Accordingly, Plaintiff

and Class Members acted reasonably in relying on Defendant’s omissions, the truth of which they

could not have discovered through reasonable investigation.

          235.   Defendant acted intentionally, knowingly, and maliciously to violate North

Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff’s and Class Members’

rights.




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          236.   As a direct and proximate result of Defendant’s unfair and deceptive acts and

practices, Plaintiff and Class Members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from fraud and identity theft; time and expenses related to monitoring their financial accounts for

fraudulent activity; an increased, imminent risk of fraud and identity theft; and loss of value of

their PII.

          237.   Defendant’s conduct as alleged herein was continuous, such that after the first

violations of the provisions pled herein, each week that the violations continued constitute separate

offenses pursuant to N.C. Gen. Stat. Ann. § 75-8.

          238.   And, on information and belief, Plaintiff’s PII has already been published—or will

be published imminently—by cybercriminals on the dark web.

          239.   Plaintiff and Class Members seek all monetary and non-monetary relief allowed by

law.

                                           COUNT VII

                                DECLARATORY JUDGMENT
                          (On behalf of Plaintiff & the Nationwide Class)

          240.   Plaintiff restates and realleges all preceding allegations above as if fully set forth

herein.

          241.   Plaintiff brings this claim individually and on behalf of the Nationwide Class.

          242.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as those

here, that are tortious and violate the terms of the federal and state statutes described in this

Complaint.


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       243.    An actual controversy has arisen in the wake of the Data Breach regarding

Plaintiff’s and Class Members’ PII and PHI and whether Defendant is currently maintaining data

security measures adequate to protect Plaintiff’s and Class Members from further data breaches

that compromise their PII and PHI. Plaintiff alleges that Defendant’s data security measures

remain inadequate. Furthermore, Plaintiff continues to suffer injury as a result of the compromise

of her PII and PHI and remains at imminent risk that further compromises of her PII and PHI will

occur in the future.

       244.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

               a.      Defendant owes a legal duty to secure patients’ PII and PHI
                       and to timely notify patients of a data breach under the
                       common law, Section 5 of the FTC Act, and HIPAA; and

               b.      Defendant continues to breach this legal duty by failing to
                       employ reasonable measures to secure patients’ PII and PHI.

       245.    This Court also should issue corresponding prospective injunctive relief requiring

Defendant to employ adequate security protocols consistent with law and industry standards to

protect patients’ PII and PHI.

       246.    If an injunction is not issued, Plaintiff will suffer irreparable injury, and lack an

adequate legal remedy, in the event of another data breach at Defendant.

       247.    The risk of another such breach is real, immediate and substantial.

       248.    If another breach at Defendant occurs, Plaintiff will not have an adequate remedy

at law because many of the resulting injuries are not readily quantified and they will be forced to

bring multiple lawsuits to rectify the same conduct.

       249.    The hardship to Plaintiff if an injunction is not issued exceeds the hardship to

Defendant if an injunction is issued. Plaintiff will likely be subjected to substantial identity theft

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and other damage. On the other hand, the cost to Defendant of complying with an injunction by

employing reasonable prospective data security measures is relatively minimal, and Defendant has

a pre-existing legal obligation to employ such measures.

       250.    Issuance of the requested injunction will not disserve the public interest. In contrast,

such an injunction would benefit the public by preventing another data breach at Defendant, thus

eliminating the additional injuries that would result to Plaintiff and Class Members whose

confidential information would be further compromised.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the proposed Classes, respectfully

requests that this Court enter an Order:

           a) Certifying this case as a class action on behalf of the Nationwide
              Class and State Class defined above, appointing Plaintiff as
              representative of the Class, and appointing her counsel as Class
              Counsel;

           b) For equitable relief enjoining Defendant from engaging in the
              wrongful conduct complained of herein pertaining to the misuse
              and/or unauthorized disclosure of Plaintiff’s and Class Members’
              Private Information;

           c) For injunctive relief requested by Plaintiff, including but not limited
              to, injunctive and other equitable relief as is necessary to protect the
              interests of Plaintiff and Class Members;

           d) For an award of damages, including but not limited to, actual,
              consequential, punitive, and nominal damages, as allowed by law in
              an amount to be determined;

           e) For an award of attorneys’ fees and costs, and any other expense,
              including expert witness fees;

           f) Pre- and post-judgment interest on any amounts awarded;

           g) Such other and further relief as this Court may deem just and proper;

           h) For trial by jury.

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Date: September 19, 2024                 Respectfully submitted,

                                         s/ David M. Wilkerson

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